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AO 91 (Rev. 11/11) Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the

Eastern District of Wisconsin

 

 

 

 

 

United States of America )
: SM CA)
Edward B. Burgess (DOB X/XX/1992) ) Case No. 19-84 3
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)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of _April 15, 2019 in the county of Milwaukee in the
Eastern District of Wisconsin , the defendant(s) violated:
. Code Section Offense Description
18 U.S.C. § 1951 Hobbs Act
18 U.S.C. § 924(c) Brandishing a Firearm During a Crime of Violence

This criminal complaint is based on these facts:

See attached Affidavit.

@ Continued on the attached sheet.

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fomlcinant ’s signature

Matthew Gibson, Federal Task Force Officer

 

 

Printed name and title

Sworn to before me and signed in my presence.

 

Date | > / ° (4 Judge '{ signature

City and state: Milwaukee, Wisconsin , Nancy Joseph

 

Printed name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
I, Matthew Gibson, being first duly sworn on oath, on information and belief state:
OL INTRODUCTION, BACKGROUND, TRAINING, AND EXPERIENCE:

1. I have over 27 years of experience as a law enforcement officer and am currently
assigned to the Milwaukee FBI Violent Crime Task Force as a Deputized Federal Task Force
Officer. I was a Special Agent with the Federal Bureau of Investigation for over 23 years and have
been an Investigator with the Milwaukee County District Attorney’s Office since 2015. I have
participated in numerous complex narcotics, money laundering, violent crime, armed bank
robbery, and armed commercial robbery investigations related to violations of Title 21, United
States Code, Sections 841(a)(1), 843(b) and 846, and Title 18, United States Code, Sections 924(c),
1951, 1956, 1957, 2113, 2119, and other related offenses. I have employed a wide variety of
investigative techniques in these and other investigations, including but not limited to, the use of
informants, wiretaps, cooperating defendants, recorded communications, search warrants,
surveillance, interrogations, public records, DNA collection, and traffic stops. I have also received
formal training regarding the same. As a Federal Task Force Officer, I am authorized to investigate
violations of laws of the United States and to execute warrants issued under the authority of the
United States.

2. This affidavit is based upon my training and experience, my personal knowledge
and information reported to me by other federal, state, and local law enforcement officers during
the course of their official duties, all of whom I believe to be truthful and reliable. This affidavit
is also based upon police reports, surveillance videos, physical surveillance, and witness

statements that I consider to be reliable as set forth herein.

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3. I have. included here only the information necessary to establish probable cause.
There are additional facts and information I have learned through my investigation that are not
included herein.

Il. PURPOSE OF AFFIDAVIT

4. I make this affidavit in support of a criminal complaint and application for an arrest
warrant under Rules 3 and 4 of the Federal Rules of Criminal Procedure.

5. Based on my training and experience, and the facts set forth in this affidavit, there
is probable cause to believe that on or about April 15, 2019, Edward B. Burgess committed an
armed robbery in violation of 18 U.S.C. § 1951 (Hobbs Act) and 18 U.S.C. § 924(c) (Brandishing
a Firearm During a Crime of Violence).

Ill. PROBABLE CAUSE

6. On April 15, 2019, at approximately 18:17, an unidentified male subject
committed an armed robbery of the Metro PCS located at 4055 North Teutonia Avenue,
Milwaukee, WI. Witness and surveillance video indicated that the subject walked into the
business and engaged the victim employee in conversation about cellular phones. The subject
then displayed a handgun and demanded that the employee open the register. The employee
opened the register and backed away. The subject removed cash from the register and fled. The
subject was described as a black male, 25 to 26 years of age, 6’0” to 6’2” tall, thin build, with a
dark complexion and a goatee, wearing a black hooded sweatshirt, dark pants, and athletic style
shoes.

7. F ollowing a media a release, a citizen source identified the subject as Edward
Burgess. The source had detailed information regarding Burgess and identified Burgess’ phone

number as 414-252-8066. Burgess matched the physical description of the subject. Law

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enforcement subsequently compared a booking photo of Edward Burgess (DOB X/XX/1992) to
the video surveillance of the Metro PCS robbery, and determined that Burgess was the subject
depicted in the video. Burgess had an active felon warrant for his arrest related to an arson
investigation.

8. On April 18, 2019, law enforcement identified T.H. as being associated with
Burgess. T.H. had a black 2006 Chrysler Town and Country van listed to T.H. Surveillance located
a vehicle matching that description parked in the driveway of T.H.’s residence in Milwaukee. The
vehicle did not have any license plates.

9. On April 19, 2019, law enforcement officers identified a family member of Burgess
who resided at 3825 West Marion Street, Milwaukee, WI. Surveillance observed Burgess at the
residence and arrested him inside pursuant to his active warrant. T.H. was also inside the residence.
T.H.’s black Chrysler van, without license plates, was parked near the garage. A Wisconsin State
search warrant was obtained for the residence and T.H.’s van.

10. Law enforcement searched the residence pursuant to the warrant. During the search,
officers recovered a loaded 7.65 caliber Beretta semi-automatic handgun, Serial # 04131, ina
‘bedroom.

11. | During a search of the van, law enforcement recovered clothing and a pair of shoes,
which were consistent with the items worn by the subject in the Metro PCS armed robbery on
April 15, 2019.

12. On April 20, 2019, Burgess was interviewed at the Milwaukee Police Department.
Burgess was read his constitutional rights, which he stated he understood and waived in order to
speak with detectives. The interview was recorded with audio and video. Burgess admitted he had

committed the armed robbery of the Metro PCS on April 15, 2019.

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13. On April 22, 2019, a line-up was conducted at the Milwaukee Police Department.
The victim employee positively identified Burgess as the subject who committed the armed
robbery of the Metro PCS on April 15, 2019. The victim also identified a photograph of the firearm
seized during the execution of the search warrant as the weapon the subject displayed during the
armed robbery.
i. CONCLUSION

14. Based on the forgoing, there is probable cause to believe that Edward B. Burgess
committed the armed robbery of the Metro PCS, 4055 North Teutonia Avenue, Milwaukee, WI on
April 15, 2019, in violation of 18 U.S.C. § 1951 (Hobbs Act) and 18 U.S.C. § 924(c) (Brandishing

a Firearm During a Crime of Violence).

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